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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                PINE BLUFF DIVISION

LARRY WAYNE JONES,                             *
ADC #70147                                     *
              Plaintiff,                       *
vs.                                            *
                                               *          No. 5:08-cv-00233-SWW-JJV
RAY HOBBS, Chief Deputy Director,              *
Arkansas Department of Correction; et al.,     *
                                               *
                       Defendants.             *

                                             ORDER

       The Court has received proposed findings and recommendations from United States

Magistrate Judge Joe J. Volpe. After a review of those proposed findings and recommendations,

and the timely objections received thereto, as well as a de novo review of the record, the Court

adopts them in their entirety.

       IT IS, THEREFORE, ORDERED that Defendants’ Motion for Summary Judgment (Doc.

No. 51) is GRANTED, and Defendants Harris and Hobbs are hereby DISMISSED from Plaintiff’s

complaint, without prejudice.

       IT IS SO ORDERED this 21st day of September, 2010.


                                                           /s/Susan Webber Wright

                                                         UNITED STATES DISTRICT JUDGE
